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 1
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 2

 3   REGINA SANCHEZ, Individually,         ) Case No. 5:15-cv-01759-FMO-JEM
     And On Behalf Of All Others Similarly )
 4
     Situated,                             ) ORDER
 5                                         )
 6
                      Plaintiff,           )
     v.                                    )
 7                                         )
 8   RECEIVABLES PERFORMANCE )
     MANAGEMENT LLC,                       )
 9
                                           )
10                    Defendant.           )
                                           )
11

12
           IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
13
     this matter is dismissed with prejudice as to the named Plaintiff, and without
14
     prejudice as to the Putative Class alleged in the complaint, pursuant to Federal
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     Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own costs and
16
     attorneys’ fees.
17
                                           Dated this 11th day of July, 2016.
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                                            ___________/s/____________________
21                                          Honorable Fernando M. Olguin
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                                        Order to Dismiss - 1
